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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              NORFOLK DIVISION




   THE COLEMAN COMPANY, INC.



        Plaintiff/Counterclaim Defendant,



        v.                                  C.A. No. 2:20-cv-351-RGD



   TEAM WORLDWIDE CORPORATION,              Hon. Robert G. Doumar



        Defendant/Counterclaim Plaintiff.




    COLEMAN’S OBJECTIONS TO JANUARY 31, 2022 ORDER OF MAGISTRATE
    JUDGE LEONARD DENYING MOTION TO EXCLUDE AND STRIKE CERTAIN
               OPINIONS OFFERED BY DR. GLEN STEVICK
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  I.     Introduction

         Pursuant to Fed. R. Civ. P. 72(a), plaintiff and counterclaim defendant The Coleman

  Company, Inc. (“Coleman”) respectfully objects to the Magistrate Judge’s January 31, 2022

  Order (ECF No. 225, “the Order”) denying Coleman’s Motion to Exclude and Strike certain

  opinions offered by the technical expert for defendant and counterclaim plaintiff Team

  Worldwide Corp. (TWW), Dr. Glen Stevick (Dr. Stevick) (ECF No. 141).

         The Order constitutes clear error in several distinct ways. First, the Order did not

  correctly apply the legal standards requiring exclusion of the expert’s unexplained assertions that

  the bed acts as a suction cup— ipse dixit parroting of the claim language—based only on

  observing a momentary, unquantified pressure change. Second, the Order failed to recognize that

  Dr. Stevick’s unsupported, back-fill deposition testimony directly contradicts his expert report

  conclusions, confirming the unscientific and unsupported nature of his purported expert

  opinions. Third, the Order erroneously concluded that it is “scientific certainty” that air had to

  flow to cause a pressure change when no expert said that was the case (nor is there any record

  evidence to support any such conclusion). And finally, the Order erroneously permitted Dr.

  Stevick’s testimony even though it is untestable and unverifiable in view of his lack of

  measurements, calculations, or data in applying any scientific method—contrary to the

  gatekeeper role required by Daubert and its progeny.

         Given the above, Coleman requests that the Court exclude Dr. Stevick’s unsupported and

  unexplained infringement opinions regarding element 1g of TWW’s asserted claims.1




  1
    Should the Court grant these objections, Coleman submits that no genuine issue of fact would
  remain regarding TWW’s infringement claim against Coleman. In particular, the Court noted
  that a factual dispute existed based on the Magistrate’s Order denying Coleman’s motion to
  exclude. See ECF No. 232 at 12. With proper exclusion of Dr. Stevick’s unsupported testimony,


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  II.     Background

          Claim element 1g of TWW’s ’926 Patent requires a bed to “act as a suction cup” to

  practice TWW’s asserted claims.2 Dr. Stevick, TWW’s technical expert witness on infringement

  issues, opined without analysis that the Coleman products meet such limitation (and therefore

  infringe) based on manometer tests showing unquantified and unexplained purported changes of

  pressure. But a change in pressure is not what is claimed. Instead, the claims require that the bed

  “act as a suction cup.” This requires that the bed include the “structure and proportions”

  necessary to act as a suction cup.3 See Order on Summary Judgment (Feb. 4, 2022), ECF No. 232

  at 9.

          To bridge the gap between the claim language and his experiments, Dr. Stevick only

  offers conclusory, speculative, and contradictory opinions. Such opinions are unreliable, legally

  deficient, and inadmissible under Rule 702 and Daubert.



  no factual issues remain, warranting reconsideration of the Court’s denial of Coleman’s
  summary judgment motion.
  2
    The Court held that an infringing airbed must “act as a suction cup” to meet the limitations of
  TWW’s asserted claims. ECF No. 232 at 12. While the Court stated that the “‘fixing’ effect” was
  not a separate limitation of the claim (id. at 8), the reasoning in Coleman’s Motion to Exclude
  Dr. Stevick are directly applicable to the Court’s revised claim construction, which supports the
  present objections. That is, Dr. Stevick’s purported expert report should be excluded because it
  fails to address how the bed “acts as suction cup” (as well as also failing to show that the
  Coleman products would be fixed relative to the support surface). Coleman respectfully disagrees
  with the Court’s holding that the “fixing” term is not a limitation (and reserves all rights as to
  that issue, including those issues resolved by the Magistrate’s Order relating thereto).
  3
    The Court’s summary judgment order found that the suction cup limitation was a critical
  feature of the claim. While the Court found that no “fixing” was required to show an infringing
  air bed, an infringing structure still must be configured to be able to produce suction sufficient to
  be capable of causing a mattress to fix to a surface (acting as a suction cup). See ECF No. 232 at
  9. Indeed, requiring a concave air bag structure capable of producing suction is the crux of the
  alleged invention. Id. The patent emphasizes this through repeated explanation that the (alleged)
  invention is capable of fixing the bed to a support surface and by providing exemplary structures
  capable of producing sufficient suction to fix relative to a support surface. See ECF No. 18-1 at
  Abstract, 2:26–27, 4:27–28, 5:37–38.


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  III.   Legal Standard

         A.      Standard of Review for Objections to Magistrate Judge Order

         When a district court designates a magistrate judge to hear and decide “a pretrial matter

  not dispositive of a party’s claim or defense,” such as discovery orders, the district court “must

  consider timely objections and modify or set aside any part of the order that is clearly erroneous

  or is contrary to law.” Fed. R. Civ. P. 72(a); 28 U.S.C. § 636(b)(1)(A); see also Robles v. United

  States, No. 2:19-CV-111, 2020 WL 8254267, at *1 (E.D. Va. Oct. 15, 2020) (treating order

  granting Daubert motion as a nondispositive). A reviewing court reviews “the factual portions of

  [a] Magistrate Judge’s order under the clearly erroneous standard,” but reviews “legal

  conclusions to determine if they are contrary to law.” Bruce v. Hartford, 21 F. Supp. 3d 590, 594

  (E.D. Va. 2014) (citing HSBC Bank USA, Nat. Ass’n v. Resh, No. 3:12-cv-668, 2014 WL

  317820, at *7 (S.D.W. Va. Jan. 28, 2014)).

         A magistrate judge’s factual findings are clearly erroneous when, “although there is

  evidence to support [the findings], the reviewing court on the entire evidence is left with the

  definite and firm conviction that a mistake has been committed.” United States v. U.S. Gypsum

  Co., 333 U.S. 364, 395 (1948); Harman v. Levin, 772 F.2d 1150, 1153 (4th Cir. 1985). If a

  reviewing court is not firmly convinced that such an error has occurred, then “the magistrate

  judge’s order must be affirmed.” Giganti v. Gen–X Strategies, Inc., 222 F.R.D. 299, 304–05

  (E.D. Va. 2004).

         A magistrate judge’s order is contrary to law when it “failed to apply or misapplied

  statutes, case law, or procedural rules.” Stafford v. Bojangles Restaurants, Inc., No. 3:20-CV-

  266-MOC, 2021 WL 5024529, at *1 (W.D.N.C. Oct. 28, 2021) (citing Catskill Dev. LLC v. Park

  Place Entm't Corp., 206 F.R.D. 78, 86 (S.D.N.Y. 2002)). The magistrate judge’s application of

  legal rules is reviewed without deference. See Bruce v. Hartford, 21 F. Supp. 3d 590, 594 (E.D.


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  Va. 2014) (quoting HSBC Bank USA, Nat. Ass'n v. Resh, No. 3:12-cv-668, 2014 WL 317820, at

  *7 (S.D.W. Va. Jan. 28, 2014)).

          B.      Expert Witness Standard

          Expert testimony is admissible only if it is “[1] based on sufficient facts or data, [2] the

  product of reliable principles and methods, and [3] the expert has reliably applied the principles

  and methods to the facts of the case.” Fed. R. Evid. 702. The district court serves as the

  “gatekeeper,” which “imposes a special obligation upon a trial judge to ensure that scientific

  testimony is not only relevant, but reliable.” See, e.g., Kumho Tire Co., Ltd. v. Carmichael, 526

  U.S. 137, 137 (1999). Expert testimony thus must be excluded where the expert’s reasoning or

  methodology cannot be reasonably applied to the facts at issue. Daubert v. Merrell Dow

  Pharms., Inc., 509 U.S. 579, 591 (1993) (“An additional consideration under Rule 702—and

  another aspect of relevancy— is whether expert testimony proffered in the case is sufficiently

  tied to the facts of the case that it will aid the jury in resolving a factual dispute.”).

          Moreover, “[n]othing in either Daubert or the Federal Rules of Evidence requires a

  district court to admit opinion evidence that is connected to existing data only by the ipse dixit of

  the expert. A court may conclude that there is simply too great an analytical gap between the data

  and the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Ipse dixit

  opinions are opinions that fail to offer analysis beyond, “It is so because I, the expert, say it is

  so.” ePlus, Inc. v. Lawson Software, Inc., 764 F. Supp. 2d 807, 815 (E.D. Va. 2011), aff’d, 700

  F.3d 509 (Fed. Cir. 2012). These are “precisely that kind of opinion that Daubert, Kumho, and

  Joiner require the district courts to exclude.” Id.; see also Copeland v. Bieber, No. 2:13CV246,

  2016 WL 7079569, at *5 (E.D. Va. Sept. 8, 2016) (excluding an expert’s reports containing

  “conclusory statements without adequate explanation or support”).




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  IV.      Argument

        A. Summary of Dr. Stevick’s Opinions

           As the Court by now knows, based at least on the summary judgment briefing and the

  Court’s order, TWW’s claims that Coleman Products infringe TWW’s ‘926 Patent hinge on Dr.

  Stevick’s opinions that the accused products meet claim element “1g” of the ‘926 Patent. Claim.

  Element 1g provides as follows:

           whereby, when a person moves onto said top surface of said top sheet, air is
           ejected from said concave air bag via a space between said bottom sheet and the
           support surface so that said bed acts as a suction cup, thereby fixing said bed
           relative to the support surface.

  ‘926 Patent 5:33–37 (emphasis added). The parties have disputed whether this whereby-clause is

  limiting, and the Court’s Summary Judgment Order concluded that “the suction cup

  functionality” is indeed a limitation because the suction cup functionality is “an integral part of

  the invention” and “defines the structure and proportions of the mattress.” ECF No. 232, 8–9.

           Infringement of a patent claim requires that every limitation is in the “accused device

  either literally or under the doctrine of equivalents.” PC Connector Sols. LLC v. SmartDisk

  Corp., 406 F.3d 1359, 1364 (Fed. Cir. 2005). However, Dr. Stevick fails to even attempt to

  provide a reasoned explanation for how limitation 1g is met. Instead, Dr. Stevick relies on a

  series of conclusory assertions and unquantified video excerpts to summarily conclude that claim

  element 1g is satisfied. Each video lasts about 15-30 seconds and shows only a “manometer”

  (pressure meter), which sometimes moves (in different magnitudes) during the video. While his

  report makes conclusory assertions as to what the video purports to show, Dr. Stevick does not

  attempt to explain how such movement equates to any suction cup effect, explain any of the

  manometer readings in any manner, or opine on how such readings show that the bed “acts as a

  suction cup.” Instead, the videos are explained only as showing the manometer’s movement as a



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  person (not shown) allegedly moves on and off the Coleman products—followed by Dr.

  Stevick’s conclusory assertion that such movement satisfies element 1g of Claim 1 of the ’926

  patent. This type of bare, conclusory opinion is impermissible under Daubert and its progeny and

  must be excluded.

         Any conclusion that the images support a finding that the bed “acts as a suction cup” is

  unsupported by the videos and the cursory description of them provided by Dr. Stevick. His

  opening report includes a single paragraph discussing the videos of the purported manometer

  test, reproduced below in its entirety:

         122. Although not required for my opinion that the Accused Products meet
         the limitations of claim 1g, I performed testing on some Accused Products to
         demonstrate what occurs in element 1g. Specifically, at my facility we used a
         flat linoleum floor with an opening for a plastic tube coming from underneath
         the floor, and the outside of the tube sealed to the floor, such that the plastic tube
         interior was open to the center of the area of the concave air bag when an
         inflated Accused Product was placed on the linoleum floor. The other end of the
         plastic tube was connected to a manometer to measure pressure changes when a
         weight was applied to and removed from the top surface of the Accused Product.
         A weight of approximately 150 pounds was applied to the bed. The manometer
         showed the pressure change in the concave air bag as the air was being ejected
         when the weight was applied to the air bed, and then when the air returned to the
         concave air bag when the weight was removed consistent with the element 1g
         description and the specification of the ’926 Patent. See ’926 Patent at col. 4, ll.
         22-34. Videos showing the movement of the manometer in response to this test
         are included as Exhibits 101-113 for Accused Products, with Exhibit 113 showing
         the manometer test for the Exemplar air bed.

  ECF No. 143 ¶ 122. Notably absent from this paragraph is any assertion that the videos show a

  suction “force” or that the Coleman beds “act as a suction cup” as required by the claims.

  Moreover, as set forth in detail below, the videos cannot do so, and Dr. Stevick’s opinions to that

  effect are therefore unreliable.




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         The image below is a screenshot of one of Dr. Stevick’s videos, for the representative

  Coleman product. The screenshot shows minor, unexplained changes in the fluid level of the

  manometer for the only test of the representative product.4

                         Stevick Opening Report EX. 113 at 11 seconds:




  The minor difference in values between the left and right sides of the tubes lasts only about 1–2

  seconds. Following that 1–2 second displacement, the manometer returns to the original value

  (timestamp 00:13 in the video, shown below). Dr. Stevick’s report does not include any

  discussion or opinions (other than his general conclusion copied above) on whether and how the

  unexplained, unquantified pressure change is meaningful or relevant to the claimed invention,

  how such change establishes suction underneath the air mattress, or to what extent a minor and




  4
    Dr. Stevick includes 11 similar videos purportedly showing the results of tests with other
  Coleman Products. Each video shows only the manometer, not the Coleman product being
  tested.


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  fleeting difference could result in any amount of suction force being attributed to the air mattress

  structure.

                          Stevick Opening Report EX. 113 at 13 seconds:




          Dr. Stevick testified that these videos of the manometer he produced were the only videos

  of his tests. (ECF No. 142-1, 263:5-8.) As noted above, Dr. Stevick did not quantify the

  relationship between the movement of the manometer and any alleged pressure or suction

  underneath the airbed. For example, Dr. Stevick’s report does not calculate any purported

  actual pressure in pounds per square inch (or any other units). (Id. at 262:17–22.) The videos also

  do not show how the manometer is connected, so it is not possible to tell from the video whether

  any given pressure change is positive (higher than atmospheric pressure) or negative (lower than

  atmospheric pressure). Nor does Dr. Stevick attempt to explain how pressure relates to airflow or

  suction, or how the purported tests would be interpreted to support any such findings. In sum, the



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  data presented by Dr. Stevick at best only shows some movement of the manometer—not that

  the bed “acts as a suction cup” as required by element 1g of the ’926 patent.

         B.      The Order does not apply the correct standard to exclude conclusory
                 opinions severed from the underlying tests or data

         Coleman argued that Dr. Stevick’s opinions were unfounded ipse dixit conclusions

  because Dr. Stevick did not provide any reasoning describing how the bed would “act as a

  suction cup” based on the configuration of the mattress, but instead merely assumed at his

  deposition that some amount of “air flow” had occurred underneath the mattress5 based on his

  undescribed and unquantified manometer tests. Order at 4–5 (citing ECF No. 142, 11–13). The

  Order, however, found that Dr. Stevick had “extrapolated upon his manometer pressure readings

  to conclude that ‘air flowed,’” so that “does not necessar[ily] render his opinion unreliable.” Id.

  at 5. But the Order did not address the problems with Dr. Stevick’s naked conclusion that the bed

  acts as a suction cup based merely on his purported belief that some unquantified (small) amount

  of “air flow” occurred for an unquantified (short) amount of time (which statements were not set

  forth in his expert report, but surmised only at his deposition).

         More specifically, the Magistrate’s Order failed to address the crux of Coleman’s

  argument: none of Dr. Stevick’s testimony (in his reports or at deposition) attempts to explain

  how the bed “acts as a suction cup” as required by the claims. Indeed, even assuming that Dr.

  Stevick’s deposition testimony could support his report opinions, that testimony only purports to

  explain that a pressure change amounts to some “air flow.” At no point does Dr. Stevick provide

  a detailed explanation of how a pressure change, “air flow,” or any other quantifiable evidence


  5
   As noted, at best Dr. Stevick’s opinion based on his manometer test is that some air moved
  under the mattress. There is no evidence other than his mere “say so” that the air in fact moved
  out from underneath the mattress as required by the claim—much less any evidence that any
  amount of suction was produced based on the alleged air movement.


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  shows a suction effect (or suction cup structure) as required by the claim. Such conclusory

  assertions, without supporting detailed analysis, are exactly the type of expert testimony that the

  Supreme Court and Federal Circuit have repeatedly found should be excluded under Daubert.

  See, e.g., Joiner, 522 U.S. 136, 137 (1997); Virnetx, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1333

  (Fed. Cir. 2014).

         On this point, the Magistrate’s Order also ignored the express requirement of the claim—

  i.e., that the bed “act as a suction cup”—in view of conclusory assertions by Dr. Stevick that

  some amount of air moves underneath the air mattress. However, as Coleman pointed out, Dr.

  Stevick’s tests and video do not prove that any air is ejected from beneath the air bed, and do not

  (and cannot) prove that the bed includes a structure that acts as a suction cup, as the claim

  requires. ECF No. 177, 6. Indeed, because Dr. Stevick’s methodology did not see fit to even

  measure the area of space under the bed when it was placed “on a support surface,” as the claim

  recites, his methodology does not even enable him to show that any concave air bag exists to

  produce a suction force—much less evidence sufficient to prove that the Coleman products “act

  as a suction cup” as required by the claims. See id.

         TWW counsel’s arguments at the recent hearing on Coleman’s motion for summary

  judgment (which followed the Magistrate Judge’s Order) further illustrate how Dr. Stevick’s

  opinions are conclusory and not based on a reliable methodology of pressure testing (allegedly)

  showing air flow that (allegedly) shows the bed acts as a suction cup. As TWW argued at the

  hearing, if Dr. Stevick merely found some “measurable” space, then that will always be

  “enough” to create a suction. ECF No. 235, 53:23–54:19.6 Indeed, TWW counsel asserted that,



  6
   TWW characterized this space as a “measurable concavity,” id. (emphasis added), but there is
  no evidence in the record as to the shape or orientation of any space or gap between the bottom
  sheet of the air bed and the floor, when the bed is the proper orientation (i.e., on the floor, as


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  according to Dr. Stevick’s opinions, “if he can detect any change in pressure whatsoever,” that

  would act as a suction cup and “keep the mattress from sliding.” Id. at 44:9:16. For his part, Dr.

  Stevick similarly testified that “as long as you have a finite distance”—that is “greater than

  zero”—that would be sufficient to cause a suction cup effect. ECF No. 142-1, 232:2–13

  (emphasis added). But such statements are the exact type of unsupported, conclusory statements

  prohibited by Daubert. Indeed, based on this testimony, the only limit to Dr. Stevick’s ability to

  opine that any space underneath an airbed is enough to cause the bed to act as a suction cup is if

  either the height of the space or the amount of pressure change was “so small that you would not

  be able to detect” it. ECF No. 235, 43:21–448 (emphasis added). It is such speculative,

  unsupported, and unverifiable conclusions that require the Court to act as a gatekeeper under

  Rule 702. Simply asserting (as was done here) that there is some unquantified space under a

  mattress that creates some unquantified pressure change does not provide the required technical

  details to support a conclusion that “air is ejected from said concave air bag via a space between

  said bottom sheet and the support surface so that said bed acts as a suction cup” as the claim

  requires.

         Such conclusory statements should be excluded. Dr. Stevick’s manometer does not show

  that a suction force existed so that the bed acts as a suction cup. Rather, it is only “so because

  [he], the expert, say[s] it is so.” ePlus, 764 F. Supp. 2d at 815. Likewise, Dr. Stevick’s

  manometer test cannot support the opinion that any Coleman bed includes a “suction cup”

  structure because Dr. Stevick provides no analysis supporting that assumption. Indeed, Dr.




  required by the claim), so that the bed might act as a suction cup when a person “moves onto”
  the bed. See id. at 37–38 (summarizing Coleman’s arguments as to why TWW failed to offer
  proof the concave air bag limitation was met); see also Coleman MSJ Reply Br., ECF No. 176,
  11–13.


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  Stevick’s assertion that the products include a “configuration” that allows air flow out from or

  creates suction under the bed is pure ipse dixit, unsupported by any analysis. See ECF 142-1 at

  255:3-5. The Order thus fails to apply the correct legal standard, which requires excluding Dr.

  Stevick’s opinions as entirely conclusory and disconnected from his manometer testing data. See

  Coleman Mem., ECF No. 142, 9–11, Coleman Reply, ECF No. 177, 4–7.

          That the Magistrate applied incorrect legal standard under Daubert is also plain from the

  text of the Order. The Order characterizes the reliability of Dr. Stevick’s testimony in two ways:

  first, as not “inherently unreliable” and second as “not necessarily … unreliable.” See ECF No.

  225 at 4, 5. But it is not Coleman’s burden to show “inherent” or “necessary” unreliability under

  Daubert or the Rules of Evidence. See F.R.E. 702(c); Daubert, 509 U.S. at 597. To the contrary,

  it is TWW’s burden to produce evidence showing that Dr. Stevick’s proposed testimony is

  reliable under Daubert. See Maryland Cas. Co. v. Therm-O-Disc, Inc., 137 F.3d 780, 783 (4th

  Cir. 1998). TWW’s response brief totally fails to meet this burden. In fact, the main argument of

  that brief is that claim element 1g is not a limitation at all, so definite proof of claim 1g is not

  required. See ECF No. 151 at 4, 5, 7, 8. But the Court explicitly rejected this argument. See ECF

  No. 232 at 9.

          Moreover, TWW’s response briefing lacked an analysis of the Daubert factors that would

  support the admissibility of Dr. Stevick’s testimony. Among other things, Dr. Stevick’s opening

  report does not define what a “suction cup effect” is, or any falsifiable criteria for determining

  whether a suction cup effect exists. For example, Dr. Stevick’s report does not distinguish

  between the so-called “suction cup effect” and any other type of pressure change or air flow (not

  all movements of air cause “suction” and not all pressure changes are “suction”). Instead, Dr.

  Stevick’s report merely paraphrases the claim language and states that “the result is a suction cup




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  effect where the bed acts like a suction cup.” See ECF No. 143 ¶ 119. These kinds of opinions

  are totally devoid of any scientific analysis, and as such are not the result of reliable principles

  and methods.

         Relatedly, Coleman also argued that Dr. Stevick’s opinions were not verifiable or

  falsifiable because he did not identify any facts or data that support his inference that suction cup

  area exists underneath the air bed. ECF No. 142, 11–13. The Order concluded, however, that Dr.

  Stevick’s “decision not to measure force does not necessarily make his opinion unreliable.”

  Order at 6. The Order noted—similar to the arguments by TWW counsel discussed in the

  preceding section—that Dr. Stevick’s testimony was that he was merely stating that “the effect is

  there and it will apply a resisting force,” but that “any [amount of] force will demonstrate the

  effect.” Id. at 5. Again, TWW counsel’s summary judgment arguments reinforce the conclusion

  that there really is no limit to Dr. Stevick’s opinions: There are no limits on the size (or even the

  shape, contrary to the structural claim limitation) of the air bag,7 no limits on the magnitude (or

  even direction) of pressure change, and no limit on how long the purported suction cup effect

  lasts.8 Rather, Dr. Stevick’s “test,” such as it is, leaves Coleman, the jury, and other potential

  infringers to guess at whether a product might act as a suction cup or include a “suction cup

  structure,” given the boundless and unexplained standard offered by Dr. Stevick and TWW.




  7
   Dr. Stevick proclaims that the height “[j]ust has to be greater than zero,” including any “finite
  distance.” ECF No. 142-1, 232:2–13 (emphasis added). Some unmeasured “finite distance” is not
  proof of a concave air bag with a “minimum height” necessary to act as a suction cup.
  8
    Dr. Stevick testified the bed only need be held in place “momentarily,” ECF 142-1, 261:3-5;
  see also Coleman Mem., ECF 142, 5 (noting the 1–2 second “displacement” of the manometer
  reflecting a brief pressure change before returning to the original, undisturbed pressures); ECF
  177, 5 (arguing “these videos only show, at best, a momentary pressure increase or decrease
  somewhere about a Coleman airbed”).


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         Because of these deficiencies, Dr. Stevick’s “methodology” used to opine that claim

  element 1g is present is not testable. An expert’s “inferences must be derived using scientific or

  other valid methods.” Oglesby v. Gen. Motors Corp., 190 F.3d 244, 250 (4th Cir. 1999). But Dr.

  Stevick has no calculations or test conditions to enable duplication of or challenge to his “test.”

  He did not measure the area of, and his reports present no data about the alleged suction cup or

  how it works.9 He did not measure (or even show) that a concave air bag exists when the

  Coleman air bed is placed with its bottom on the support surface. ECF No. 142-1, 233:20-25.

  Since any force directly depends on area, without the area Dr. Stevick cannot determine the force

  to know whether or not any of the Coleman products “act as a suction cup.” And it’s undisputed

  that pressure is not the same as force, so pressure alone does not show the magnitude of a force.

  See, e.g., ECF No. 142-3 ¶ 100; ECF No. 142-1 at 267:13–23. Dr. Stevick’s opinions are based

  on speculation and assumption—not science. They certainly are not based on a scientific

  methodology and are not reliable under Rule 702 or Daubert. 509 U.S. at 593. Such unfalsifiable

  opinions require exclusion under Daubert, so the Magistrate’s Order allowing them to be

  presented to the jury is contrary to law.

         C.      The Order clearly erred and is contrary to law in concluding there is no
                 contradiction between Dr. Stevick’s opinions and what the claim requires

         In denying Coleman’s request to exclude Dr. Stevick’s conclusory and unsupported

  conclusions, the Magistrate further relied on unsupported assertions of fact. First, Coleman had

  argued that the “higher (positive) pressure underneath the air bed” that Dr. Stevick testified

  would occur when the person moves onto the air bed was the opposite of what is claimed,

  rendering Dr. Stevick’s opinions (even assuming his manometer testing was accurate) “irrelevant


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    At most, he only opines in his Reply report that there is a “large surface area.” ECF No. 144
  ¶ 82.


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  and [unable to] support a finding of a suction cup effect,” i.e., that the bed acts as a suction cup

  when the person moves onto the bed. Order at 3 (quoting Coleman Mem., ECF No. 142, 11). The

  Order characterized Dr. Stevick as testifying that “because of a change in pressure, it is a

  scientific certainty that ‘air had to flow to cause that change in pressure.’” Order at 4 (quoting

  ECF No. 135-1, 11–12) (emphasis added).

         There is, however, no support for the Order’s conclusion. It is simply incorrect—much

  less a “scientific certainty”—that air has to flow from one place to another to cause a change in

  pressure (or, conversely, that a change in pressure means that air must flow).10 And Dr. Stevick

  never says so in the passage of testimony cited by the Order (or otherwise). Instead, he conceded

  the opposite. He agreed that the pressure inside a balloon could change if one pressed on the

  outside—even though air would not be flowing in or out. See ECF No. 135-1, 254:18–255:3.11

         Further, while Dr. Stevick’s deposition testimony is ipse dixit and excludable on that

  basis alone (as noted above), the Order also incorrectly found “no contradiction” between Dr.

  Stevick’s testimony that he observed an increase in pressure “when a person moves onto the air

  mattress” and Stevick’s opinion that a “suction cup effect requires a reduction in pressure (which



  10
     For example, pressure changes in closed systems (i.e., systems where there is no airflow in or
  out of the system) are well understood. Boyle’s Law quantifies how pressure changes within a
  sealed system as the volume of the closed system changes. See Li Invalidity Report, ECF No.
  171-16 ¶¶ 98–99; see also https://www.grc.nasa.gov/www/k-12/airplane/boyle.html (illustrating
  Boyle’s law by showing pressure changes inside a cylinder without air flowing in or out of the
  cylinder). In any event, Dr. Stevick does not even attempt to provide a detailed analysis (as
  required by Daubert) to explain why a change in air pressure equals air flow from underneath the
  air mattress. Dr. Stevick further does not even use the term “scientific certainty,” and (even if he
  had), a mere assumption or belief does not meet the requirements of Daubert.
  11
     TWW counsel argued at the hearing on summary judgment that “because there is air trapped
  under the bed, … when you put pressure on the top, it will cause air to go out, that does create
  suction. That is just a physical fact.” ECF No. 235, 51:22–4. But Dr. Stevick’s concession about
  air not flowing out of a balloon shows it is not a “physical fact” that must necessarily occur; it is
  merely an assumption TWW would like us to believe is fact.


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  occurs when the weight is removed from the air mattress).” Id. (emphasis added). The Order did

  not reconcile or appreciate the conflict with the timing of when the air bed of Claim 1 must “act

  as a suction cup.” As pointed out in in Coleman’s briefs, the claims expressly require the bed to

  act as a suction cup “when a person moves onto” the bed. The patent explains that “[w]hen the

  person leaves the bed,” the concave air bag is “once again filled with air” so that the bed “can be

  easily moved at this time.” ECF No. 18-1 at 4:29–34 (emphasis added). So both the plain

  language of the claim and the intrinsic evidence of the patent make clear that the bed acts as a

  suction cup when a person gets onto the bed, but it stops acting as a suction cup (and “can be

  easily moved” again) when a person gets off. See also Coleman Mem., ECF No. 142, 7–9;

  Coleman Reply, ECF No. 177, 2–3.

         But Dr. Stevick testified that “when you move, get off, that corresponds to when you

  reverse the load on a suction cup” and “[y]ou pull a vacuum.” ECF No. 142-1, 253:10–14.12 The

  Order accepted this testimony and observed that “the suction cup effect requires a reduction in

  pressure[,] which occurs when the weight is removed from the air mattress, thereby reversing the

  air flow.” Order at 4 (emphasis added).13 Both Dr. Stevick and the Order place the timing of the

  bed acting as a suction cup at the wrong time—the opposite of when the claim requires it. If the



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    Coleman noted in its reply brief that TWW mischaracterized Dr. Stevick’s testimony by
  rewriting it to merely say when the person “moves ‘that corresponds to’” reversing the load on a
  suction cup. ECF No. 177, 3 (emphasis added) (quoting ECF No. 151, 6). As noted above, Dr.
  Stevick actually said that happens when “you move, get off.”
  13
    As noted in Coleman’s reply brief, in a portion of Dr. Stevick’s opening report that does not
  refer to or rely on his manometer testing, he also stated that when a person “moves atop the air
  bed,” it “reduces pressure inside the concave air bag and creates a vacuum.” ECF No. 177, 2
  (quoting ECF No. 143 ¶ 20). So another contradiction is that, per Dr. Stevick’s testimony, his
  own manometer testing shows the opposite of what his un-supported opinions in the report states.
  ECF No. 177, 2–3 (citing deposition testimony at ECF No. 142-1, 253:10–14). Dr. Stevick’s
  manometer testing, according to his testimony, cannot support (or refute) his otherwise-
  conclusory opinion that the claim is infringed. That is the epitome of unreliable expert testimony.


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  “suction cup effect” requires a reduction in pressure from weight being removed, then Dr.

  Stevick’s testimony and opinions (which observed pressure change when a person gets onto the

  bed) do not support his opinion that the bed “acts as a suction cup” “when a person moves onto”

  the bed as the claim requires. The Order cannot be squared with the plain language of the patent

  claim, and again relies on conclusory assertions as opposed to reliable methodology and

  rationale, which is prohibited under Daubert.

  V.     Conclusion

         The Magistrate Judge’s Order denying Coleman’s motion to exclude was based on

  clearly erroneous factual findings or inferences, and it misapplied the relevant legal authority

  governing admissibility of expert opinions. For the reasons explained above, Coleman requests

  the Court sustain its objections to the Order and grant Coleman’s motion to exclude, ECF No.

  141.


  Dated: February 14, 2022                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
         I hereby certify that on February 14, 2021, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

  all counsel of record.

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